Case 1:21-cv-01286-MSG Document 155-2 Filed 04/21/22 Page 1 of 7 PageID #: 2347




                  EXHIBIT B
  Case 1:21-cv-01286-MSG Document 155-2 Filed 04/21/22 Page 2 of 7 PageID #: 2348



VitalLaw™
Antitrust Law: An Analysis of Antitrust Principles and Their Application -
Areeda and Hovenkamp, ¶706. Unreasonably Exclusionary Infringement
Lawsuits and Related Enforcement Conduct
Antitrust Law: An Analysis of Antitrust Principles and Their Application - Areeda and Hovenkamp
Phillip E. Areeda (late) & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their
Application ¶706. (4th and 5th Editions 2015-2021)
4th and 5th Editions
Antitrust Law: An Analysis of Antitrust Principles and Their Application - Areeda and Hovenkamp ¶706.
Click to open document in a browser
Last Updated: 9/2021
706a. Introduction; patent obtained by fraud versus other improprieties..—
1. Summary..—Any patent holder, including a monopolist, may challenge an infringement of its patent or
other IP rights. Of course, defending the infringement suit may prove costly to the alleged infringer. Further,
if the latter's product is itself the alleged infringement, the patentee acting in good faith is entitled to notify the
infringer's customers. [1] Customers using infringing articles may themselves be contributory infringers [2] and
may therefore require indemniﬁcation security from the infringement defendant or, if suﬃciently frightened, may
stop dealing altogether. Subjecting a potential or actual rival to such burdens may weaken the rival or even
dissuade it from beginning or continuing its rivalry with the monopolist patentee—and perhaps without regard to
the merits of the infringement claim.
As a result, suing on a patent in bad faith—for example, where the patent was wrongfully obtained or the
patentee knows that the rival is not an infringer—is "exclusionary " in the §2 sense. Further, since improperly
motivated litigation in this sense is a "sham, " neither is it protected by the Noerr doctrine. [3]
We state our conclusions as follows:
   •     In Walker Process the Supreme Court declared that an infringement lawsuit based on a patent that
         was acquired by "fraud " could be the basis for an infringement defendant's antitrust lawsuit against the
         infringement plaintiﬀ. [4] This lawsuit most typically proceeds by way of counterclaim to the infringement
         suit, but the courts have also approved the submission of Walker Process claims in declaratory judgment
         actions and even in primary lawsuits ﬁled under the Sherman Act. [5]
   •     In today's parlance "fraud " most typically refers to inequitable conduct by the applicant during the patent
         application process. But not every imperfection in a patent application process is suﬃcient to make a
         patent unenforceable. The Federal Circuit has set high standards for inequitable conduct, which require
         an actual intent to deceive the patent examiner and a showing of "materiality, " which means that the
         examiner would very likely not have issued the patent had he or she known the truth. That court has set
         even higher standards for establishing that a lawsuit on such a patent constitutes an antitrust violation.
   •     The realm of exclusionary practices regarding patent claims is broader than inequitable conduct,
         however, and covers any assertion of an IP right to exclude others while knowing that the IP right
         in question is unenforceable under the circumstances. The antitrust conduct can consist of such
         things as: (1) ﬁling an infringement suit on a patent that the patentee knew or should have known was
         unenforceable as a result of inequitable conduct or other imperfections in the application process; (2)
         ﬁling an infringement suit when the infringement plaintiﬀ knew or should have known that the rival's
         technology did not infringe; (3) ﬁling an infringement suit based on an expired patent. The §2 claim can
         also be based on exclusionary actions other than the ﬁling of an infringement suit, such as threats to

© 2022 CCH Incorporated and its aﬃliates and licensors.      1                                  Mar 30, 2022 from VitalLaw™
All rights reserved.
  Case 1:21-cv-01286-MSG Document 155-2 Filed 04/21/22 Page 3 of 7 PageID #: 2349
Antitrust Law: An Analysis of Antitrust Principles and Their Application -
Areeda and…

The PRE objective standard asks mainly whether the patentee exercised reasonable care in determining the
fact of infringement. Although we cannot discuss the many possibilities, a few illustrations and principles may be
stated.
When the monopolist is vindicating a product patent, we can at least insist that it inspect the allegedly infringing
article and draw a reasonable conclusion of infringement before ﬁling its infringement suit or taking other actions,
such as writing letters to customers, that might injure the alleged infringer's market position. [97] This restriction
applies regardless of any sincere belief the monopolist might have about the impossibility of a noninfringing
product in its ﬁeld. [98]
The product itself may not reveal the presence or absence of an infringed process patent. In that case, the
monopolist should be compelled to request a reasonable opportunity to inspect the allegedly infringing process
before attacking. Once these preliminaries have occurred, we hesitate to appraise too precisely the monopolist-
patentee's judgment about infringement—especially in an infringement suit where the infringement defendant
might want to divert the suit from the question of infringement to the plaintiﬀ's reasonableness in suing. The
patentee should not be forced to sue at its peril. Yet, neither should its discretion be completely immune from
review. Accordingly, we conclude that a monopolist-patentee's judgment in attacking an infringer may be
tested for reasonableness in any appropriate suit, but the alleged infringer must overcome a presumption of
reasonableness in favor of a patentee whose behavior appears reasonable on its face. We emphasize that
issues concerning the legal question of infringement and the facts that constitute it are to be addressed directly
under the patent laws.
706c3. Relation to claim construction..—In its Teva Pharmaceuticals decision, the Supreme Court held that
patent claim construction based on extrinsic evidence and expert testimony is factual in nature and subject to
clear error review, rather than de novo review as the Federal Circuit had previously held. Whether this change in
the law will have any bearing on the "reasonableness " of a particular infringement suit is diﬃcult to say. [99] The
dissenters pointed out that in many circumstances treating claim construction as a question of fact will reduce
uniformity. [100] This could operate to increase the range of reasonable infringement suits. In general, however,
antitrust liability attaches only when a patent owner brings an infringement action with indiﬀerence to whether
infringement has occurred or based on claims that fail to read on the accused device or process under any
reasonable interpretation.
706d. Government Guidelines..—Guidelines issued by the Justice Department set forth the circumstances
under which it will prosecute a patent infringement action as unlawful monopolization. [101] Somewhat
inconsistently, those Guidelines provide that "[e]nforcement of a patent obtained by mere inequitable conduct
before the Patent and Trademark Oﬃce, however, cannot be the basis of a section 2 claim, because inequitable
conduct does not involve knowing and willful patent fraud," but also that "[a]n objectively baseless infringement
action, brought in bad faith, when the complainant knows the intellectual property right to be invalid, may violate
section 2 of the Sherman Act." [102] As indicated earlier, we believe that the second of these propositions is the
more accurate statement of the law.
706e. Antitrust challenge as compulsory or permissive counterclaim; declaratory judgment and direct
action alternatives..—
1. Counterclaim..—In most cases the antitrust challenge to an infringement action is presented as a
counterclaim to the infringement suit itself. If such counterclaims are classiﬁed as "compulsory, " they must be
brought as counterclaims or will be barred by principles of res judicata. If, however, the antitrust counterclaim
is permissive, then failure to bring it will not preclude a subsequent and independent antitrust challenge to the
infringement action. [103]
The trend is to ﬁnd such counterclaims to be compulsory and thus barred if not timely brought during the
pendency of the infringement suit. The Second Circuit's Critical-Vac decision distinguished between antitrust
counterclaims to the infringement suit, which should be treated as compulsory, and claims and defenses of

© 2022 CCH Incorporated and its aﬃliates and licensors.    13                                 Mar 30, 2022 from VitalLaw™
All rights reserved.
  Case 1:21-cv-01286-MSG Document 155-2 Filed 04/21/22 Page 4 of 7 PageID #: 2350
Antitrust Law: An Analysis of Antitrust Principles and Their Application -
Areeda and…

patent misuse, which might be treated as permissive. [104] The Supreme Court's controversial Mercoid decision
[105]
    had treated the latter as permissive, and the Second Circuit felt obliged to reconcile it with emergent
doctrine holding that antitrust counterclaims to infringement actions are best regarded as compulsory. The
Second Circuit reasoned:


        Antitrust claims based on patent misuse, such as the counterclaims in Mercoid , are likely to involve
        factual issues distinct from those involved in patent infringement litigation between the same
        parties….In contrast, antitrust claims based on patent invalidity, such as C-Vac's claims in the instant
        case, will generally involve the same factual issues as those involved in patent infringement litigation
        between the same parties…. [106]


This reasoning is not entirely persuasive. Some misuse claims raise precisely the same issues as those that
arise in an antitrust claim and all necessary facts are known to the infringement defendant at the time of the
infringement suit. For example, perhaps the infringement plaintiﬀ requires the defendant to use tied, staple
commodities with the patent, and its failure to do so forms the basis for the infringement claim. [107] In such
cases there is no reason not to make the antitrust counterclaim compulsory. In other cases—such as when the
patent is procured by fraud but the facts are not revealed until after the infringement suit has run its course—
justice is poorly served by a rule that prevents a subsequent antitrust challenge. [108]
When the facts supporting the antitrust counterclaim are the same as those supporting the infringement defense,
a compulsory counterclaim rule economizes on judicial resources and tends toward the eﬃcient resolution of
disputes. For example, if the defense is that the theory of infringement is legally frivolous, the patent is clearly
invalid or has expired, or the defendant's technology is obviously not infringing, then many of the facts necessary
to support the antitrust counterclaim are implicit in the defense itself. Other facts, such as market power or the
dangerous probability of success in achieving it can be developed through discovery.
Making antitrust counterclaims compulsory is less sensible, however, when the facts needed to support
the counterclaim are not suﬃciently known at the time the infringement action is brought. In such cases a
compulsory counterclaim rule requires the infringement defendant to bring an antitrust claim that would be
treated as unfounded or even frivolous if brought through the usual process. The outcome is particularly
serious if the facts needed to support the antitrust counterclaim are not known until after the ﬁling deadline for
counterclaims has passed or, worse yet, after the trial is over. [109]
As a result, some allowance must be given to an infringement defendant forced to ﬁle its antitrust counterclaim
before the full facts or the full impact of any antitrust violation is known. For example, it would be perverse to hold
that an antitrust claim is compulsory and thus cannot be brought later, but also that the infringement defendant
lacks standing to bring the antitrust counterclaim because it has not yet perfected entry into the market. [110]
In Destiny Tool , the Ninth Circuit, applying Sixth Circuit law, observed that both the Fifth and Ninth Circuits
"have strictly followed " the Supreme Court's decision in Mercoid , and concluded that antitrust counterclaims are
not compulsory. [111] The court noted a division among the circuits, with some holding that such counterclaims
are not compulsory as a general matter, [112] and others disagreeing. [113] The court observed that Mercoid was
a patent misuse case with an antitrust counterclaim, [114] while Walker Process involved a patent infringement
suit allegedly based on a fraudulently obtained patent. The broader rule adopted by the Fifth and Ninth Circuits
thus rejected the compulsory restriction for all antitrust counterclaims, while the narrower rule typically held that
Walker Process counterclaims are generally compulsory, while other types of antitrust counterclaims might not
be.




© 2022 CCH Incorporated and its aﬃliates and licensors.    14                                Mar 30, 2022 from VitalLaw™
All rights reserved.
  Case 1:21-cv-01286-MSG Document 155-2 Filed 04/21/22 Page 5 of 7 PageID #: 2351
Antitrust Law: An Analysis of Antitrust Principles and Their Application -
Areeda and…

The Ninth Circuit then applied the Sixth Circuit's "logical relationship " test, which considered whether
"substantially the same evidence would support or refute both claims. " [115] On that basis, the court concluded
that the counterclaim was compulsory.
706e2. “Aﬃrmative” use of Walker Process: suits under Declaratory Judgment Act or direct Sherman
Act suits; consumer standing..—A "counterclaim " naturally presupposes an underlying infringement claim
to which it is attached. If the owner of an improperly obtained patent institutes enforcement actions falling short
of an infringement suit, then the target's only recourse may be to institute their own action. The Declaratory
Judgment Act [116] contemplates such actions, [117] and some courts have permitted a direct antitrust challenge
under the Sherman Act.
For example, in Unitherm the patentee wrote threatening letters to numerous ﬁrms, including customers of the
challenger. [118] The claimant brought a declaratory judgment action asserting Walker Process–like claims, and
the Federal Circuit concluded that a plaintiﬀ in the claimant's position "may bring a Declaratory Judgment Action
of patent invalidity…even in the absence of overt enforcement actions." [119] The Federal Circuit observed that
merely obtaining a patent whose claims conﬂicted with the technology of the declaratory judgment plaintiﬀ would
be insuﬃcient to raise the type of threat of harm that the Declaratory Judgment Act contemplated. However,
threatening communications, even if not directed at the claimant itself, could be suﬃcient. Just as the mere
obtaining of a patent, with no subsequent enforcement activity, would not violate Walker Process, so too it would
not give rise to a declaratory judgment action. [120]
In Hydril the Federal Circuit went one step further, holding that a ﬁrm could ﬁle a Sherman Act lawsuit directly
against a patentee who had threatened the antitrust plaintiﬀ's customers and supplier after widely publicizing its
patent in the market, even though it knew that the patent was invalidated by prior art. [121] The Federal Circuit
rejected the district court's conclusion that an aﬃrmative claim would lie only if the patentee's enforcement action
lay against the antitrust claimant itself, as would normally be the case in a declaratory judgment action. The court
observed:


      To the extent the district court's ruling may have been based on Hydril's failure to allege threatened
      enforcement action against Hydril rather than against its customers, a valid Walker Process claim
      may be based upon enforcement activity directed against the plaintiﬀ's customers. Threats of patent
      litigation against customers, based on a fraudulently-procured patent, with a reasonable likelihood
      that such threats will cause the customers to cease dealing with their supplier, is the kind of economic
      coercion that the antitrust laws are intended to prevent. A supplier may be equally injured if it loses
      its share of the market because its customers stop dealing with it than if its competitor directs its
      monopolistic endeavors against the supplier itself. Without customers, a supplier has no business.
      [122]



In DDAVP , the Second Circuit held that it had jurisdiction over a Walker Process –style antitrust claim brought
by purchasers who alleged that they had paid too much for a drug because the defendant's patent infringement
suit had served to delay generic entry. [123] In this case, the dispute arose under antitrust law, not patent law.
The court noted that the plaintiﬀs had pursued their antitrust claim on four alternative theories:


      (1) [T]he defendants committed Walker Process fraud in obtaining and securing the ′398 patent;
      (2) the defendants listed the ′398 patent in the FDA's Orange Book despite knowing the patent was
      fraudulently procured and therefore invalid; (3) the defendants, knowing the ′398 patent was invalid,
      prosecuted sham patent infringement litigation against generic competitors in order to delay FDA
      approval of the competitors' generic DDAVP equivalent; and (4) the defendants ﬁled a sham citizen

© 2022 CCH Incorporated and its aﬃliates and licensors.   15                                Mar 30, 2022 from VitalLaw™
All rights reserved.
  Case 1:21-cv-01286-MSG Document 155-2 Filed 04/21/22 Page 6 of 7 PageID #: 2352
Antitrust Law: An Analysis of Antitrust Principles and Their Application -
Areeda and…
98    Such a rule might be thought futile because antitrust law is not likely to interfere very eﬀectively with a
      patentee's propensity to sue once it goes through the motions of inspecting the allegedly infringing article. But
      even if some patentees sue with undetected bad faith, encouraging proper forms of conduct can beneﬁcially
      inﬂuence the substance of behavior. This limited intervention, moreover, may threaten an appraisal of the
      patentee's judgment in suing and thereby deter some undesirable conduct.
99    Teva Pharms. USA, Inc. v. Sandoz, Inc. , 135 S. Ct. 831 (2015).
100   Id. at 845–50 (Thomas, J., dissenting, joined by Justice Alito).
101   See Antitrust Guidelines for the Licensing and Acquisition of Intellectual Property §6.0 (1995), reprinted in 59
      Fed. Reg. 41,339. These Guidelines are reprinted as Appendix C to the Supplement.
102   Id. §6.0.
103   See Federal Rule of Civil Procedure 13(a), which states in relevant part:


            A pleading shall state as a counterclaim any claim which at the time of serving the pleading the
            pleader has against any opposing party, if it arises out of the transaction or occurrence that is the
            subject matter of the opposing party's claim and does not require for its adjudication the presence
            of third parties of whom the court cannot acquire jurisdiction.


      See 6 Charles A. Wright et al., Federal Practice & Procedure §1417 (Civil, 3d ed. 2014); Michael D. Conway,
      Comment, Narrowing the Scope of Rule 13(a), 60 U. Chi. L. Rev. 141, 156 (1993).
      On related procedural issues see Arthrocare Corp. v. Smith & Nephew, Inc., 406 F.3d 1365 (Fed. Cir. 2005)
      (refusing to dismiss antitrust counterclaim until antitrust plaintiﬀ could respond on baselessness issue);
      Donnelly Corp. v. Reitter & Schefenacker, USA , 2002 WL 31418042, 2002-2 Trade Cas. ¶73,817 (W.D.
      Mich. Aug. 13, 2002) (granting infringement plaintiﬀ's request to bifurcate trial of infringement claim and patent
      counterclaim, but not to stay discovery on the counterclaim, permitting all discovery to go forward would
      prevent discovery disputes and facilitate settlement).
104   Critical-Vac Filtration Corp. v. Minuteman Int'l, Inc., 233 F.3d 697 (2d Cir. 2000), cert. denied, 532 U.S. 1019
      (2001). See also Eon Labs, Inc. v. SmithKline Beecham Corp., 298 F. Supp. 2d 175 (D. Mass. 2003) (antitrust
      challenge to patent infringement suit is compulsory counterclaim; following Critical-Vac ); Jarrow Formulas
      v. International Nutrition Co., 175 F. Supp. 2d 296 (D. Conn. 2001) (distinguishing Critical-Vac decision
      discussed in the main text: where some of the facts supporting the antitrust claim occurred after resolution
      of prior patent infringement suit, the antitrust claim could not be treated as a compulsory counterclaim to
      that prior suit). Cf. Xerox Corp. v SCM Corp., 576 F.2d 1057, 1061 (3d Cir. 1978) (antitrust counterclaim
      not compulsory as to large antitrust suit challenging many aspects of defendant's conduct). But when the
      underlying claim is simply for infringement and the basic defense to the infringement action is essentially the
      same as the counterclaim, the latter is compulsory. Accord Koufakis v. Carvel , 425 F.2d 892, 898 (2d Cir.
      1970); United Artists Corp. v. Masterpiece Prods., Inc., 221 F.2d 213, 216 (2d Cir. 1955). See 6 Wright et al.,
      Federal Practice §§1411–1412.
105   Mercoid Corp. v. Mid-Continent Inv. Co., 320 U.S. 661 (1944).
106   Critical-Vac , 223 F.3d at 703. See also USM Corp. v. SPS Techs., Inc., 102 F.R.D. 167 (N.D. Ill. 1984)
      (making the same distinction).
107   See ¶1781b, d.
108   For fuller treatment, see Herbert Hovenkamp, Mark D. Janis, Mark A. Lemley, & Christopher R. Leslie,
      Intellectual Property and Antitrust Law §5.5 (2d ed. 2010 & Supp.).
109   See American Packaging Corp. v. Golden Valley Microwave Foods, Inc., 1995 WL 262522, 1995-1 Trade
      Cas. ¶71,009 (E.D. Pa. 1995) (infringement defendant claimed that information about fraudulent procurement
      of patent became available only very late in the infringement suit); see also Hydranautics v. Filmtec Corp.,

© 2022 CCH Incorporated and its aﬃliates and licensors.    45                                 Mar 30, 2022 from VitalLaw™
All rights reserved.
  Case 1:21-cv-01286-MSG Document 155-2 Filed 04/21/22 Page 7 of 7 PageID #: 2353
Antitrust Law: An Analysis of Antitrust Principles and Their Application -
Areeda and…

      204 F.3d 880, 886 (9th Cir. 2000) (infringement defendant properly pled that infringement plaintiﬀ committed
      perjury at infringement trial and that in absence of perjured testimony, it would have lacked probable cause to
      pursue infringement action).
      If new facts emerge after the litigation or if the infringement plaintiﬀ committed fraud or other misconduct,
      Federal Rule of Civil Procedure 60(b)(3) permits the judge to give a party relief from the judgment provided
      that motion is made within a reasonable time, or within one year after entry of judgment.
110   Cf. Amgen, Inc. v. F. Hoﬀman-La Roche LTD , 2007-1 Trade Cas. ¶75,766 (D. Mass. Mar. 30, 2007) (rival
      who was target of patent infringement actions had standing to assert counterclaim even though it was not yet
      producing in the market, where FDA approval was "imminent "—better rule here, if the infringement defendant
      is close enough to entry that a patent infringement suit or threat of it is forthcoming, then it has standing to
      maintain the antitrust action; further, expenses of litigating the patent could constitute "antitrust injury ").
111   Destiny Tool v. SGS Tools Co ., 344 Fed. Appx. 320, 323, 2009 WL 2700318, 2009-2 Trade Cas. ¶76,749 (9th
      Cir. Aug. 27, 2009), analyzing Mercoid Corp. v. Mid-Continent Inv. Co ., 320 U.S. 661, 671 (1944).
112   Id., 344 Fed. Appx. at 323, citing Tank Insulation Int'l, Inc. v. Insultherm, Inc., 104 F.3d 83, 88 (5th Cir. 1997),
      and Hydranautics v. FilmTec Corp. , 70 F.3d 533, 536–37 (9th Cir. 1995).
113   Destiny Tool , 344 Fed. Appx. at 323, citing Critical-Vac Filtration Corp. v. Minuteman Int'l, Inc. , 233 F.3d 697,
      702–04 (2d Cir. 2000), and Genentech, Inc. v. Regents of the Univ. of Cal., 143 F.3d 1446, 1455–56 (Fed.
      Cir. 1998), vacated on other grounds, 527 U.S. 1031 (1999).
114   Destiny Tool , 344 Fed. Appx. at 323. See Christina Bohannan, IP Misuse as Foreclosure, 96 Iowa L. Rev.
      475 (2011), available at http://papers.ssrn.com/sol3/papers.cfm? abstract_id=1474407.
115   Destiny Tool , 344 Fed. Appx. at 323, citing Sanders v. First Nat'l Bank & Trust Co. in Great Bend , 936 F.2d
      273, 277 (6th Cir. 1991).
116   28 U.S.C. §2201. What we say here is not intended to be a comprehensive treatment of declaratory judgment
      actions in this legal setting. For that, see 10B Charles A. Wright et al., Federal Practice and Procedure
      §§2751–2759 (Civil, 3d ed. 2014).
117   See MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118 (2007), holding that a licensee did not need to
      repudiate its license agreement as a condition of having a "case or controversy " suﬃcient to invoke the
      Declaratory Judgment Act.
118   Unitherm Food Sys., Inc. v. Swift-Eckrich, Inc., 375 F.3d 1341 (Fed. Cir. 2004), rev'd on non-antitrust
      grounds, 546 U.S. 394 (2006).
119   Id. , at 1358. See also Highway Equip. Co., Inc. v. Cives Corp., 476 F. Supp. 2d 1079 (N.D. Iowa 2007).
120   See, e.g. , Microchip Tech. Inc. v. Chamberlain Grp. , 441 F.3d 936 (Fed. Cir. 2006) (no jurisdiction under
      Declaratory Judgment Act when DJ plaintiﬀ did not face reasonable apprehension of suit).
121   Hydril Co. LP v. Grant Prideco LP , 474 F.3d 1344 (Fed. Cir. 2007). Contrast Merchandising Techs., Inc. v.
      Telefonix, Inc., 2007-1 Trade Cas. ¶75,598 (D. Or. Feb. 7, 2007) (minimum degree of enforcement necessary
      to support Walker Process claim is that needed to establish actual controversy for purposes of Declaratory
      Judgment Act; here not even enough controversy to establish that; in fact, the patentee had simply sent out to
      its customers a notice of the existence of its patent).
      Of course, consumers as well as competitors can bring direct actions. See Netﬂix Antitrust Litig. , 2007-1
      Trade Cas. ¶75,749 (N.D. Cal. June 14, 2007) (consumers had standing to challenge alleged Walker
      Process violation; ultimately deciding that the plaintiﬀs failed to state a claim; allegations were merely that
      Netﬂix obtained its patents fraudulently; plaintiﬀs could not show that any rival was actually excluded by
      the patents); Molecular Diagnostics Labs. v. Hoﬀmann-La Roche, Inc., 402 F. Supp. 2d 276, 280 (D.D.C.
      2005) (purchasers have standing). Cf. DDAVP Direct Purchaser Antitrust Litig. , 2007-1 Trade Cas. ¶75,726
      (S.D.N.Y. Nov. 2, 2006) (odd, apparently incorrect alternative holding that direct purchasers of drug lacked
      standing to assert Walker Process claim alleging that defendant used improperly procured patent to keep
      generics oﬀ market, resulting in higher prices for its own drug; court holds that because Walker Process is

© 2022 CCH Incorporated and its aﬃliates and licensors.     46                                 Mar 30, 2022 from VitalLaw™
All rights reserved.
